CaSe 2205-0|’-20068- `
‘§\AO l99A (Rev. 6/97') Order Setting Condiifr|):ris|\c/)|f Re|lg£ecument 27 F||ed 07/01/05 Page 1 Of 4 Pl§g$|op 293 Pages

FILED lN OPEN COURT

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UNITED STATES DISTRICT COUH*ITE'--------
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WESTERN nisrricc of **`F§l!N-l§`s
United States of America
ORDER SETTING CONDITIONS
V. OF RELEASE
/
ARIANE GRANT Case Number: 2105CR20068-D; 2:05CR2007'2-D;
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Defendant a`l‘ 05€¢1,1007\3- 5

lT lS ORDERED that the release of the defendant is subject to the following conditions:
(]) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

directed The defendant shall appear at (if blank, to be notified) 167 N. Main St., 9th floor, Courrroom #3

Place

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Date and Time

Release on Personal Recognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant be released provided that:
( t/ ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed
( ) (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of

dollars ($ )
in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed

 

 

DIS'E`RIBUTION: COURT DEFENDANT PRETRIAL SERVFCES U. S. ATTOR_NEY

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Additional Conditions of Release d

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and the
community. '
lT lS FURTHF.R ORDERED that the release ofthe defendant is subject to the conditions marked below:
( ) (6) The defendant is placed in the custody of:
(Name of person or organization)
(Address)
(City and state) (Tel. No.)
who agrees (a) to supervise the defendant in accordance with ali the conditions of release, (b) to use every effort to assure the appearance of the defendant at all scheduled court
proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of release or disappears

 

 

 

Signed;

 

Custodian or Proxy Date

( X ) {7) The defendant shall:
( ) (a) report to the Preti‘ial Serviccs Ofiice as directed ,
telephone number 901-495-1550 ,not later than .
( ) (b) execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or designated property:

 

 

{ ) (c} post with the court the following indicia of ownership of the above-described property, or the following amount or percentage of the above-described

 

) (d} execute a bail bond with solvent sureties in the amount of $
) (e) maintain or actively seek employment.

) (ij maintain or commence an education program.

) (g) surrender any passport to:

 

 

} (li) obtain no passport
) (i) abide by the following restrictions on personal association, place of abode, or travel'.

 

( ) (i) avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential witness in the subject investigation or
prosecution, including but not limited to:

 

 

{ X ) (k) undergo medical or psychiatric treatment and/or remain in an institution as follows: as directed by Preti'ial Ofiicer

 

t ) (l) return to custody each (week) day as of o’clock after being released each (week) day as of o’clock for employment,
schooling, or the following limited purpose(s):

 

t ) (m} maintain residence ata halfway house or community corrections center, as deemed necessary by the pretrial services office or supervising officer.
( X ) (n) refrain from possessing a firearm, destructive device, or other dangerous weapons
( ) (0) refrain from ( ) any ( ) excessive use of alcohol.
( X ) (p) refrain from use or unlawful possession ofa narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
practitioner.
( X ) (q) submit to any method of testing required by the pretrial services office or the supervising officer for determining whether the defendant is using a prohibited
substance Such methods may be used with random frequency and include urine testing, the wearing ofa sweat patch, a remote alcohol testing system, and/or
any form of prohibited substance screening or testing.
( X ) (r) participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising
officer.
( ] (s) refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of any prohibited substance testing or electronic
monitoring which is (are) required as a condition(s) of release
( ) (t) participate in one of the following home confinement program components and abide by all the requirements of the program which ( ) will or
( ) will not include electronic monitoring or other location verification system. You shall pay all or part of the cost of the program based upon your ability
to pay as determined by the pretrial services office or supervising officer
( ) (i) Curfew. You are restricted to your residence every day ( ) from to , or ( ) as directed by the pretrial
services office or supervising officer', or

( ) (ii) Home Detention. You are restricted to your residence at all times except for employment', education; religious scrvices; medical, substance abuse,
or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved by the pretrial services
office or supervising officer; or

( ) (iii) Home Incarceration. You are restricted to your residence at all times except for medical needs or treatment, religious serviccs, and court
appearances pre-approved by the pretrial services office or supervising officer.

( ) (u) report as soon as possible, to the pretrial services office or supervising officer any contact with any law enforcement personnel, including, but not limited
to, any arrest, questioning, or traffic stop,

( X ) (v) refrain from wearing Shelby County uniform or accouterment that would that would signify employment with a law enforcement agency.

 

 

( )(W)

 

 

( )(X)

 

 

DlSTRlBUTlON: COURT DEFENDANT PRETR!AL SERVICES U.S. ATTORNEY U.S. MARSHAL

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Advice of Penalties and Sanctions
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.

'I`he commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment
of n ot more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
misdemeanor This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation lt is a crime punishable by up to ten years of imprisonment, and a 3250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or inforrnant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious
if they involve a killing or attempted killing.

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed lf you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

{4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted

Acknowledgment of Defendant

I acknowledge that l arn the defendant in this case and thatl am aware of the conditions ofrelease. l promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed l am aware of the penalties and sanctions set forth
above.

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Signature of Defendant
/'Cb 05 Ua.w'wmaae/ @0€
Address
V]évwz/J/aco. 713 72 5 " / 2 99
City' and State Telephone

Directions to United States Marshal

( ) The defendant is ORDERED released after processingl
lite United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for re se. The defendant shall be produced before the appropriate
judge at the time and place specified, if still in custody.

 
  
    

Date: July l, 2005
Sig attire of Judicial Officer

Judge Bernice B. Donald
Name and Title of Judicial Officer

DISTR_IBUTION: COURT DEFENDANT PRETRIAL SERV!CE U.S. ATTORNEY U.S. MARSl-IAL

 

COURT-nn§rhnn

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:05-CR-20068 was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

i»anSSEE

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
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Ste. 800

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Larry E. oCopeland

OZMENT COPELAND & HAYS
l38 N. Third St.

2nd Floor

l\/lmephis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

